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6    Attorney for Defendant
     THOMAS MARRS
7

8                                   UNITED STATES DISTRICT COURT

9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       ) Case No.: CR-S-11-275 JAM
                                                     )
12                                                   ) STIPULATION AND ORDER TO
                           Plaintiff,                ) CONTINUE STATUS CONFERENCE
13                                                   )
     vs.                                             )
14                                                   )
     THOMAS MARRS,                                   )
15                                                   )
                                                     )
                           Defendant,                )
16
                                                     )
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18          The United States of America, through its counsels of record, Benjamin B. Wagner,

19   United States Attorney for the Eastern District of California, and Jason Hitt, Assistant United
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     States Attorney, and defendant Thomas Marrs, through his attorney, Ronald Peters, Esq, hereby
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     stipulate and agree that the status conference scheduled for January 13, 2015 at 9:30 am should
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23   be continued to March 3, 2015 at 9:30 a.m.

24          Defendant needs additional time to prepare a possible Memorandum in Aide of
25
     Sentencing based upon 3443 factors.
26
            Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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              Case 2:11-cr-00275-JAM Document 253 Filed 01/07/15 Page 2 of 3


1    Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
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     time be excluded under this provision January 13, 2015 to and including March 3, 2015.
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                                                         Respectfully Submitted,
                                                         BENJAMIN B. WAGNER
6                                                        United States Attorney
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8    DATE: January 6, 2015                               By: /s/ Ron Peters for__________
                                                         JASON HITT
9                                                        Assistant U.S. Attorney
                                                         Attorney for Plaintiff
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11

12   DATE: January 6, 2015                               /s/Ron Peters
                                                         RON PETERS
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                                                         Attorney for Defendant
14                                                       Thomas Marrs
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                              STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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1                                                   ORDER
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             The Court, having considered the stipulation of the parties, and good cause appearing
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     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the stipulation
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5
     of the parties, the Court finds that the failure to grant a continuance in this case would deny

6    defense counsel reasonable time necessary for effective preparation, taking into account the
7    exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
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     the ends of justice served by the granting of such continuance outweigh the interests of the public
9
     and that the time from the date of the stipulation, January 13, 2015, to and including March 3,
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11   2015.

12           It is so ordered.
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     Date: 1/6/2015                                 /s/ John A. Mendez_______________
15                                                  HONORABLE JOHN A. MENDEZ
                                                    United States District Court Judge
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                                 STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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